    
  

 

ease 13-32106 Documem 187-1 Filed in T)<SB on 06/08/18 Page 1 of 3

DEED OF APPOINTMENT OF RECE]VER/MANAGER

": 'WE, ZENITH BANK PLC whose registered office is at Plot 84/87, 'Ajose Adeogun Stree`t,
`:Victoria |sland, Lagos State (hereinaf.t_er called “`the Bank”) being the registered holder
of a Deed of legal Charg'e Over Interest in OML 120 and 121 dated May 14, 2015
registered at the Corporate Affairs Cornmission_, Abuja (hereinafter called “th'e Deed
of Legal Char_ge") made between ERIN PETROLEUM NlGERIA LlMlTED PREVIOUSLY
KNOWN AS CAMAC PETROLE_UM LlMITED (he'rein'after called “the Borrower”); ALLIED
ENERGY PLC (he'reinafter called “the Chargor”) ._a'nd ZENITH BANK PLC (hereinafter
called “the Bank”);. pursuant to the powers conferre'd.on the Bank by the Deed of Legal
Charge and of every power enabling the Bank so to 'do HEREBY A-PPOINT BASHORUN
J.K. RANDLE of J.K Randle Prof-essional Se.rvices,_ One Ki-ng Olog_unkutere Street, Park
View, |koyi, Lagos State (hereinafter called “the Receiver/Manager”) to be the
Receiver!Manager of the Assets charged by the charger in Paragraph 2 of the Deed of
l_egal Charge' upon the terms and with all the powers conferred by the Deed of Legal
Charge or by law.

Subject to your acceptance of our offer of appointment, yo.u_ will be required to carry
_Out inter-alia the following duties:

(a) To take immediate possession and management of the undertakings of the
Chargor and the assets secured by the Deed of l_egal Charg"e or any part thereof
and for that purpose to take or defend proceedings in the name of the Company
or otherwise.

(_b) T'o take over, either solely or in conjunction with other persons, the interest of
Allied Energy Plc and the economic interest of ER|N. Petroleurn Nigeria Limited in
OML 120 and 121 now charged in iavour of the Bank and to obtain all
authorization, consent, approval, licence, permit or exemptions required to
operate OMl. 120 and 121 and to operate howsoever, including power to sell,
alienate, assign or otherwise, all or any such interest.

(c) To demand and recover all the income from the Assets thereby secured by action,
distress or otherwise to the full extent of the estate or interest which the
Cornpany could dispose of and to give effective receipts accordingly for the
same, to'exercise any powers which may have been delegated to him by the Bank
pursuant to these presents'.

('d) To rnake any arrangements or compromise which the Receiver shall think
expedient in the interest of the Bank-.

(_€-) To give valid receipts for all moneys and execute all -c_oriveyances, assignments,
deeds, assurances and things which may be proper-or desirable for realizing such
Ass-ets and things as may be considered to be conducive to any of the matters or
the powe'rs__.___aforesaid and which the Receiver!Manager lawfully can do as Agent
for the.'C-"cf`i'ni"pany.

(f) ii need `be, and with the prior written consent of the Bank, to sell (by public
auction or private 'trea-ty_) lease or let or concur in sell-ing, leasing the Assets
charged by the Deed of Deb_enture and .t-o carry out any such sale_, leasing or
letting into effect in the name of and on behalf of the Company or otherwise.

(g) To use the name of the Company for all or any of the purposes aforesaid and in
any legal proceedings

  
 
 

_:_ _ 3251`.`66 "Document 187-1 Filed in T)<SB on 06/08/18 Page 2 of 3

` (h} To execute and deliver any deed or deeds or instruments and to convey, assign
or otherwise assure the Assets of which he is appointed Receiver!Manager or any
interest therein in the name of or on behalf of the Cornpany and by deed in the
name of and on behalf of the Company to grant, assign or dispose the legal
interest in such Assets to any Purchaser or lessee thereof.

(i) To do all such other acts and things as may be considered by the Bank to be
incidental or conducive to any of the matters or powers aforesaid and which he
lawfully may or can do as agent of the Company.

(j) This appointment is for an initial period of one year beginning from the date of
execution hereof or until otherwise revoked in writing by the Bank whichever is
later.

{l<) The Re.ceiver will be required to submit to the Bank monthly Progress Reports of
the Receivership.

(l) Th_is` appointment shall take effect from the date on which the last party to
execute this D_eed duly executes it until terminated by the Bani<.

We hereby agree to indemnify and hold you harmless in respect of all acts carried out
by you in the execution of the above stated dut-ies.

"H
DATED-“r_His_._.... 'g .DAY or ....... lady ................. 2018

ruiz common _seA_L_o-F
_z_ENiT_H B_A_Nx etc

    

DiREc“r`o ' "

S|G'_NED` A_ND SALED
By th_e'_within named Receiver
BASH_ORUN J.K. RANDLE

 

 

in the presence of:

Name dellA§‘l’ ©l)xi,salas;»~
Occup_ation: lpevs.malp l>t$§ls'lawr
Address; Ql.p'l/ P;§W} C`prolf' ll llas£) MOQA.@ A.dio~ll/~

Date: gl/o§/Zolf§/

  
 
   

(j§_a-S'§."-:'le"-'$ZlO€ DOCument 187-1 Filed in TXSB on 06/08/18 Page 3 of 8

DEED OF APPO|NTMENT OF RECE!VER:’M_ANAGER

 

WE,ZEN|TH BANK PLC whose registered office is at Plot 84/87, Ajose Adeogun Street,
i_l_v`ifcto§ria lsland, Lagos State (hereinafter called “the Bank”) being the registered holder
. of -a Deed of Debenture dated November 25, 2014 registered at the Corporate Affai-rs

" _ Commissio_n, Abuja (hereinafter called “the Deed of Debenture”) made between ERIN

 

'_PETROLEUM _NIGERIA LlM|TED PREVIOUSLY KNOWN AS CAMAC PETR'OLEUM LlMITED
(he`reinafter called “the Chargor”) and ZEN|TH BANK PLC (hereinafter called “the
Bank”); pursuant to the powers conferred on the Bank by the Deed of Debenture and
of every power enabling the Bank so to do HEREBY APPOlNT BASHORUN J.K. RANDLE
of J.K Randle Professional Se'rvices, One King Ologunkutere Street, Park- View, |koyi,
Lago`s State (herei'nafter called “the ReceiverfManager") to be the Receiver!Manager
of the Assets charged by the charger in Paragraph 2 of the Deed of Debenture upon the
terms and with all the powers conferred by the Deed of Debenture or by law.

Subject to your acceptance of our offer of appointment, you will be required to carry
out inter-alia the following duties:

(a) To take immediate possession and management of the undertakings of the
Chargo_r and the assets secured by the Deed of Debenture or any part thereof and
for that purpose to take or defend proceedings in the name of the Company or
otherwise

(b) To_ take over, either solely or in conjunction with other parties, the economic
interest of ER|N Petroleurn' Nigeria Limited in O_ML 120 and 121 now charged in
favou_r of the Bank and to obtain all authorization, consent, approval, licence,
permit or exemptions required to operate OML 120 and 121 and to operate
howsoever, including power to sell, alienate, assign or otherwise, all or any such
interest.

(c) To demand and recover all the income from the Asse'ts thereby secured by action,
distress or otherwise to the full extent of the estate or interest which the
Com`pa_n_y could dispose of and to give effective receipts according-ly for the
sam'e, to exercise any powers which may have been delegated to him by the Bank
pursuant to these presents.

(d) To make any arrangements or compromise which the Rece.ive.r shall think
expedient in the interest of the Bank.

(e) T'o give valid receipts for all moneys and execute all conveyances, assig`nments,
deeds, assurances and things which may be proper or desirable for realizing such
Assets and things as may be considered to be conducive to any of the matters or
the powers aforesaid and which the Receiver!Manager lawfully can do as Agent
for the Company..

(_f) |f need`b.e",`""""`:'and with the prior written consent of the Bank, to sell (by public
auction or private treaty) lease _or let or concur in selling, leasing the Asset_s
charged by the Deed of Debenture and to carry out any such sale, leasing or
letting into effect in the name of and on behalf of the Company or otherwise.

(g`) To use the name of the Company for all or any of the purposes aforesaid and in
any legal proceedings

Case 18-32106 DOCument 187-1 Filed in TXSB on 06/08/18 Page 4 of 8

`(h) To execute and deliver any deed or deeds or instruments and to convey, assign
or otherwise assure the Assets of which he is appointed Receiver/Manager or any
interest therein in the name of or on behalf of the Company and by deed in the
name of and on behalf of the Company to grant, assign or dispose the legal
interest in such Assets to any Purc-haser or lessee thereof.

(i) To do all such other acts and things as may be considered by the Bank to be
incidental or conducive to any of the matters or powers aforesaid and which he
lawfully may or can do as agent of the Company.

(j) This appointment is for an initial period of one year beginning from the date of
execution hereof or until otherwise revoked in writing by the Bank whichever is
later.

(k) The Receiver will be required to submit to the Bank monthly P-ro_gress Reports of
the Receivership.

(l) This appointment shall take effect from the date on which the last party to
execute this Deed duly executes it until terminated by the Bank.

We hereby agree to indemnify and hold you harmless in respect of all acts carried out
by you in the execution of the above stated duties.

m
naer THis ........ ' .3 ........... DAY or ........ Mfl}/ ............. 2013
_THi-: common salt or

ZEN!TH BANK PLC
'Was hereunto affixed i the presence of:

 
    

SECR TARY

SlGNED AN;D SEALF_D ...-_-»-’ _
By the within named Receiver HSWZCU{)QIL

B'ASHOR_UN J.K. RANDLE

 

 

|n the presence of:

Name: lj,pl;l.;§\' ©l,yp;y,pluslm
Occupation; firestle Baslsi¢.,_i“

. _ \ kg;_
Pl,..i'-P\Zifi; C.s'o_l’ \)E.l,ln$.i (l;:)>e-KQ'““J lpn

Address:
Date: gi /"-’ §j®gig .

f}i re

orr ".s §
d i

17

Case 18-32106 DOCument 187-1 Filed in TXSB on 06/08/18 Page 5 of 8

     

ZENf'.f'i'~i"

COMPAN|ES AND ALL|ED MATTERS ACT, 1990
NOT|CE OF APPO|NTMENT OF RECEIVER PURSUANT TO SECT|ON 206 (1)

NAME OF COMPANY ER|N PETROLEUM N|GER|A LlMlTED RC: 860957
PRESENTED BY ZEN|TH BANK PLC
TO THE REGISTRAR GENERAL

CORPORATE AFFA[RS COMM|SS|ON

ABUJA

We, ZEN|TH BANK PLC of P|ot 84/87 Ajose Adeogun Streel, Vicioria |sland, Lagos Slate With
reference to Erin Petro|eum Nigeria Limited do hereby give notice that

on lth .i.$.‘.'liay of .....'.“.leX ............ 2013 We appointed BASHoRuN J.x. RANDLE, 00N or
One King O|ogunkutere Street1 P_arkview, lkoyi, Lagos State as Receiver as empowered by
C|ause 8 of the Deed of Debenture dated November 25, 2014 registered at Corporate Affairs
Cornmission on December12, 2014 respectively and executed BE`|`WEEN ER|N PETROLEUM
N|GER|A LlMlTED (PREV|OUSLY KNOWN AS CAN|AC PETROLEU|V| L||V||TED) AND ZEN|TH
BANK PLC.

m
Daied this ...l..$...day of ....M.W ............ 2018
THE COMMON SEAL OF THE W|TH|N NAMED

ZENITH BANK PLC
WAS AFFIXED IN THE F’RESENCE OF;

   

Jirn ‘f_`rvie C‘ON (C'rieirrnan} Pete!' Amanobo (".Eroup Me.naging Direotorf€fhief Execulive Ofl`roer) A|haji Baba Teia, Mr. Jel’frey Efeyinl,

l Ebenezar Gnyeagv,”t=. f 361 uty l\v‘ane-",.` ."-r: _-',_`:ir ectorj J-"nmed U: 'nar Sl'iuai'o (':xeculive Bireoior) "'fernilope easeranli (Exel‘:_ulive Direoior}.
l !"e inie Oiisa {E'<.e :uiive Direol'or}.

f -i,o ';n'_ i<ui<_a Env emei-. a Proi Oyewuai lbidapo- -C»be, i\.»i:' Gabriei tii<peh, Engr. iviustafa Bel|o Adaora Umeoji (_Deputy Menaging Direct':rf.‘.

 

Case 18-32106 DOCument 187-1 Filed in TXSB on 06/08/18 Page 6 of 8

   
  

"‘_ia~"

--__.-'»:v n rail air

  

ZE'NITH s

May 18, 2018

The Registrar General
Corporate Affairs Commission
Plot No. 42 0, Tigris Crescent
Maitama, Abuj a

Dear Sir,

LE'I'TER OF CONFIRMATION OF APPOINTMENT OF BASHORUN J.K.

RANDLE AS RECEIVERZMANAGER IN RESPECT OF THE ASSETS OF
ERIN PETROLEUM NIGER[A LlMlTED !PREV`[OUSLY KNOWN AS
CAMAC PETROLEUM LIMITEDL RC 860951

We write to confirm that Bashorun J.K. Randle of J.K Randle Professional Services
has been appointed by our Bank to act as Receiver/Manager of the above Company.

Kindly render to him all necessary assistance towards the registration of the Deed of
Appointment to that effect

Attached is a copy of the Certiiicate of Registration of the Deed of Debenture
pursuant to which the Bank derived and exercised the power for the appointment of
the Receiver/Manager.

Yours faithfully,
ZENITH BANK PLC

 
  

COUNSEL

D§recrors Jirn C)via, CON {Ghairnsen), Peier Amang'oo {Group Managing DirectoriChief Executive Offioer), Aihaji Baba Teia. Nir. Jeffrey Efeyir;§,

l Prnf_ Chuisui<a Enwemeira i-"rof. Oyewusi lbidapo--"_>be, |'lii:', Gabriel Ukpeh, Engr, Muslafa Belio` Adaora Umeo§i {Depuiy N!anagino Dire::tor},
§ Ebenezer Onyeagwu {Deputy Managing Direoior‘,-, earned Llrnar Shuaib (Execulive Di:'ector), Ternliope Fasoranli [Executive Direc.*nr_‘,-,
l Dennis iiiisa {Exeoulive Birector).

 

Case 18-32106 DOCument 187-1 Filed in TXSB on 06/08/18 Page 7 of 8

,q._ B-_.~ ' .-‘.
lui g

’¢‘ 1 -"""<'

.. -_ _,'lf,l' |`_ 21 if l§ f t

    

ZENI'TH

May 18, 2018

The Registrar General
Corporate Affairs Commission
Plot No. 420, Tigris Crescent
Maitama, Abuja

Dear Sir,

LE'I"I'ER OF CONFIRMATION OF APPOINTMENT OF BASHORUN J.K.

RANDLE AS RECEIVER[MANAGER IN RESPECT OF THE INTEREST OF
ALLIED ENERGY PLC !RC 1806811 IN OML 120 AND 121

We write to confirm that Bashorun J.K. Randle of J.K Randle Professional Services
has been appointed by our Bank to act as Receiver/Manager of the above Company.

Kindly render to him all necessary assistance towards the registration of the Deed of
Appointment to that effect

Attached is a copy of the Certiiicate of Registration of the Deed of Legal Charge over
interest 120 and 121 pursuant to which the Bank derived and exercised the power for
the appointment of the Receiver/M anager.

Yours faithfully,
ZENITH BANK PLC

COMP SECRETARY/ GENERAL COUNSEL

Dfrecrors‘ .,firr' Ovia, CON (Chairrnenj=, Pnie.' Arnangbo (C-`\roup hilanaglng DirectorfChief Executive Oiflcer). A|haji Baba Teia. Mr. Jeffrey Efeyir;i;
f Frof. -:'Jh=,fi<ui<a Enwerno!<n, Proi. Oyewusi ibidapo-Obe. inn Gabriel Ukpeh, Engr. Mustaia Beiio, Adaora Urneo§i (Depuiy Mana_qing Dire-:;torfi,
l_ i:‘henezar Onyeagwu (De_nuty Managirig Birector), Ahmeci Urnar Shuaib [Exeoutive Direoior), `i`emilope Fasoranti (Exeoulive Direoici'.‘},
l i_`.‘ennis Glisa {Eve.r\ulive Director}.

 

 

Dr'r»‘-orors §

 

Case 18-32106 DOCument 187-1 Filed in TXSB on 06/08/18 Page 8 of 8

 

COMPANIES AND ALL|ED MATTERS ACT, 1990 l
NOT|CE OF APPOINTMENT OF RECE|VER PURSUANT TO SECTION 206 (1)

NAME OF COMPANY ALL|ED ENERGY PLC RC: 180681

PRESENTED BY ZEN|TH BANK PLC

TO THE REG|STRAR GENERAL
CORPORATE AFFAIRS COMM|SS|ON
ABUJA

We, ZENiTH BANK PLC 01P|0t84/87 Ajose Adeogun Streei, Victoria island, Lagos State with
reference to A||ied Energy Plc do hereby give notice that

On this ....$. dHay of ....M.Ay ............. 2018 we appointed BASHORUN J. K. RANDLE, OON of
One King O|ogunkutere Street Parkview |koyi, Lagos Siate as Receiver as empowered by
C|ause 8 of the Deed of Lega| Charge dated |V|ay 14, 2015 registered at Corporate Affairs
Cornrnission on May 28, 2015 respectively and executed BETWEEN ER|N PETROLEUM
N|GER|A LlMlTED (PREV|OUSLY KNOWN AS CAMAC PETROLEUM i_iivliTED), ALL|ED
ENERGY PLC AND ZEN|TH BANK PLC.

Daled this ...'.SHday of ...M.Ay ............ 2018
THE COMMON SEAl. OF THE W|THIN NAMED

ZEN|TH BANK PLC
WAS AFF|XED |N THE PRESENCE OF: .

 

""via CON (Cnairme.n} P=~ier Arnangbo (»‘Broup Nianaging DireoiorlChief Exeoulive fo:oer}. Alha}i Baba Tela, Mr. Jeffiey Efeyini.
‘--=__ sugar §nwar.“az¢» Prc,r Oyewusi ibidapo One ivii Gabriei l_ikpei, Engr. lv‘usiafa Bel,io Adaora Umeoji (Depi.:ty Managing Direcio:'},
' Oriyeagv viz {iJepu'y ivlenaging 'Jireclor‘ y ahmed l£mai‘ Shua.i b (Exeouiive Dir.eoio r,) Temitope Fasoraril'i (Exeou£ive Direcior},

 
  

.' "enn= s Oli se {i: 'ecui.\ `ve Direoior}.

 

